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                                            Exhibit B

                             Form of Joint Communication Cover Letter




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                                       December __, 2021




 __________________________
 ____________________________________________________


        Re:      In re Boy Scouts of American and Delaware BSA, LLC; U.S. Bankruptcy
                 Court for the District of Delaware; Case No. 20-10343 (LSS) (Jointly
                 Administered)                                           _______________

Dear __________________________:

We write to you in our capacity as counsel to the Official Committee of Tort Claimants (the
“TCC”) appointed in the chapter 11 bankruptcy cases of the Boy Scouts of America and
Delaware BSA, LLC (the “Debtors”) pending before the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”). The TCC is the fiduciary representative for all
survivors of childhood sexual abuse who have asserted claims in the Debtors’ bankruptcy cases.
This letter is going to clients of Abused in Scouting comprised of three law firms, namely (1)
AVA, (2) Eisenberg Rothweiler, and (3) Kosnoff Law (the “AIS Firms”).

On November 24, 2021, the TCC filed an emergency motion to address certain issues that have
arisen in the plan voting process, and on December 3, 2021, the TCC filed its Modified
Emergency Motion of the Official Committee of Tort Claimants Regarding Plan Voting Issues
(the “Motion”). In the Motion, the TCC requested, among other things, that the Bankruptcy
Court direct each of the AIS Firms to issue a joint communication including from each of them a
plain language one-page position paper and recommendation on whether to vote to accept or
reject the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC (the “Plan”). On December __, 2021, the Bankruptcy Court
entered its Order Granting Modified Emergency Motion of the Official Committee of Tort
Claimants Regarding Plan Voting issues. The statements of each of the AIS Firms are attached
to this letter.

If you have not received a Ballot and would like to vote on the Plan or you would like a new
Ballot in order to change your vote on the Plan, you may request a Ballot and voting instructions
from the Solicitation Agent by (a) calling the Debtors’ toll-free restructuring hotline at 866-907-
2721, (b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot
Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA
91367, or (d) submitting an inquiry on the Debtors’ restructuring website at



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https://omniagentsolutions.com/bsa. All submitted Ballots will be tabulated according to the
rules set forth in the Solicitation Procedures as approved in the Solicitation Procedures Order.

The TCC and its counsel cannot provide you with legal advice. You are invited to contact
any or all of the AIS Firms to seek further advice with respect to the Plan or completion
and submission of your ballot.

The deadline to submit timely a ballot with respect to the Plan is December 28, 2021 at 4:00 p.m.
(Eastern Time).


                                                             Very truly yours,



                                                             Pachulski Stang Ziehl & Jones LLP


cc: Kenneth Rothweiler, Esq.
    Andrew Van Arsdale, Esq.
    Timothy Kosnoff, Esq.




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